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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CAITRIONA BRADY                                  : CIVIL ACTION
                                                 :
                         v.                      : NO. 19-5082
                                                 :
THE MIDDLE EAST FORUM                            :

                                              ORDER
          AND NOW, this 6th day of July 2020, it having been reported this morning the above

    captioned matter is settled but also mindful of today’s scheduled show cause hearing under our

    March 5, 2020 Order (ECF Doc. No. 23) to determine an appropriate monetary sanction for

    Plaintiff’s counsel’s failure to appear at our January 31, 2020 pretrial conference, it is

    ORDERED:

          1.       This action is DISMISSED with prejudice under agreement of counsel and

Local Rule of Civil Procedure 41.1(b); 1 and,

          2.       Nothing in this Order affects counsel’s continued obligation to appear for the

show cause hearing today.



                                                      KEARNEY, J.




1
    Local Rule 41.1(b) provides:

          [a]ny such order of dismissal may be vacated, modified, or stricken from the
          record, for cause shown, upon the application of any party served within ninety
          (90) days of the entry of such order of dismissal, provided the application of the
          ninety-day time limitation is consistent with Federal Rule of Civil Procedure
          60(c).
